Case 8:95-cr-00125-LHM Document 28 Filed 02/23/98 Pagelof5 Page ID #:6
NITED STATES DISTRICT COL T

CaNTRAL DISTRICT OF CALIFORNIA
CRIMINAL MINUTES — GENERAL

 

 

 

 

 

 

 

 

 

Case No. SA CR 95-125-LHM Date February 23, 1998
DOCKET ENTRY:
PRESENT: HON. LINDA H. McLAUGHLIN , JUDGE

 

D. Beard
Deputy Clerk

Not Present

Marc’ Greenberg

Court Reporter Asst. U. S. Attorney

 

 

U.S. A. v. (DEFENDANTS LISTED BELOW)

ATTORNEYS FOR DEFENDANTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(1) Huu Tran () Mark S. Axup

_ *X resent custody _ vond __. O/ R “ae present _. appointed retained
(2) (2)
__. present custody bond O/R present appointed retained
(3) (3)
____ present _.. custody ___ bond __. O/ R ___. present appointed retained
(4) (4)
_____ present custody _____ bond ____ O/R _____ present appointed retained
PROCEEDINGS: = SENTENCING

Cause called. Hearing held.
and now accepts plea agreement.

Court confirms prior acceptance of guilty plea

Defendant is sentenced to Count I of the Indictment as shown on the attached copy

of Judgment and Commitment.

Defendant is advised of his appeal rights.

copies to:

Mark S. Axup

Mark S. Axup Law Office
655 University Avenue,
Sacramento, CA 95825

Ste 121

AUSA Mare Greenberg
Office of U.S. Attorney

600 W. Santa Ana Blvd., Ste 1100

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Santa Ana, CA 92710 "
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U.S. Marshal DEPUTY CLERK _— Ja
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Initials of Deputy Clerk

 

  
 

 
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UNITED-STATES OF AMERICA vs. a _ Docket No. “ah - 95- 125-LEM
TRAN, HUU we XXX-XX-XXXX
Defendant’s Name Social Security No.
& Residence 1201 North Mountain View Mailing Address 1201 North Mountain View.
Address Santa Ana, CA 92703 -Santa Ana, CA 92703

 

Se elelet ane Vie t= e]:7-Wa le) pace iinet ay ere) :{b) 15) :

co | MONTH DAY YEAR
In the presence of the attorney for the government, the defendant appeared in person on this date. Feb. 23, 1998

 

 

 

 

COUNSEL [ WITHOUT COUNSEL ~ ‘However, the Court advised defendant of right to counsel and asked whether defendant desired to
have counsel appointed by the Court and the defendant thereupon waived assistance of counsel.

[20k witH COUNSEL | —_Mark Axup

(Name of Counsel)

PLEA [ xx GUILTY, and the Court being satisfied that there is a factual basis for the plea. [| NOLO CONTENDERE {4 NOT GUILTY

FINDING There being a finding / verdict of le GUILTY, defendant has been convicted as charged of the offense(s) of:
18 U.S.C. $1344(1): ank. Fraud

JUDGMENT The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause

AND PROB./ to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered

COMMITMENT, that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
ORDER the custody of the Bureau of Prisons to be imprisoned for aterm of: one (1) day with credit time served of

one day, The defendant shall be placed on supervised release for a term of three
years under. the following terms and conditions:

 

1. The defendant shall comply with the rules and regulations of the U.S. Probation
Office and General Order 3183

2. If the amount of mandatory assessment imposed by this judgment remains unpaid
at the commencement of the term of community supervision, the defendant shall
pay such remainder as directed by the Probation Officer;

3. The defendant shall reside for a period of eight(8) months in a community
corrections center as directed by the Probation Officer and shall observe the
rules of that facility;

4. The defendant shall comply with the rules and regulations of the Immigration
and Naturalization Service (INS), and if deported from this country, either volunt-
arily or involuntarily, not reenter the United States illegally. Within 72 hours
of release from any custody or any reentry to the United States during the period
of Court-ordered supervision, the defendant shall report for instructions to the

U.S. Probation Office, located at: 319 Federal Building, 34 Civic Center Plaza,
Santa Ana, CA 92701.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and Supervised
Release set out on the reverse side of this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period
of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.

This is a direct commitment to the Bureau of Prisons, and the Court has NO. OBJECTION should the Bureau of Prisons designate defendant

to a Community Corrections Center. wo a ee Co
- US. Magistrate Judge __

Signed oy Ded Ts District Judge
SHERRI R. CARTER

It is ordered that the Clerk deliver a certified copy” LYAyV§ 7a GOODROE, CLERK

of this Judgment and Probation /Commitment Order

to the U.S. Marshal or other qualified officer. 2 LN. Ay ew
- Dated/Filed AAS ey

AQ-245-A (01/90) Deputy Clerk

 
   
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UNITED STATES OF AMERICA Docket No. CR = _95-125-LHM
VS
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Date

 

 

    

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Continued from Page 14

Signed oy NTs District Judge Jl: eagles [| U.S. Magistrate

AQ-245-B

(04/90)

5. As directed by the Probation Officer, the defendant shall provide to the
Probation Officer an accurate financial statement, with supporting documenta-
tion, as to all sources and amounts of income and all expenses of the defendant.
In addition, the defendant shall provide federal and state income tax returns
as requested by the Probation Officer.

6. The Defendant shall participate in a psychological counseling program, which in-
cludes counseling regarding gambling as approved and directed by the Probation
Officer.

It is further ordered that the defendant shallpay to the United States a special
assessment of $50.00.

Pursuant to Government's motion, Counts 2, 3 and 4 and the Forfeiture Count are
dismissed.

Bond to be exonerated upon satisfactory completion of residency at community
corrections center.

 

SHERRI R. CARTER
YF Wb i LEONARD/A. BROSNAN, CLERK

Dated/Filed By

 

Deputy Clerk

Page Two of Two Pages
AO 245B (3/95) Sheet 6 - Statement of Reasons

 

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DEFENDANT: Rule 32 ~~
CASE NUMBER: FINDINGS AND
STATEMENT OF REASONS

2m court adopts the factual findings, and guideline application in the presentence report, a f Aagsy lene tel
tee Bate 7: Zo 9f ‘ OR

ane court the factual findings and guideline application in the presentence report except (see attachment,
if necessary):

Guideline Range Determined by the Court:
Total Offense Levet: __//

Criminal History Category: ZL
Imprisonment Range: s to 14 months

Supervised Release Range: __.3 _to__5 years
Fine Range:$ 7, A7rV tos 20, 920

 

i Fine waived or below the guideline range because of inability to pay.

Total Amount of Restitution: $_/2, 7/0:6 &

( Restitution is not ordered because the complication and prolongation of the sentencing process resulting from

the fashioning of a restitution order outweighs the need to provide restitution to any victims, pursuant to
18 U.S.C. § 3663(d).

For offenses that require the total amount of loss to be stated, pursuant to Chapters 109A, 110, 110A, and

43A of Title 18, restitution is not ordered because the economic circumstances of the defendant do not allow
for the payment of any amount of a restitution order, and do not allow for the payment of any or some portion
of a restitution o

rder in the foreseeable future under any reasonable schedule of payments.
CO Partial restitution is.ordered for the following reason(s):

JX tre sentence is within the guideline range, that range does not exceed 24 months, and the court finds no
reason to depart from the sentence called for by the application of the guidelines.

OR

(The sentence is within the guideline range, that range exceeds 24 months, and the sentence is imposed for the
following reason(s):

OR

(_] The sentence departs from the guideline range:

(1 upon motion of the government, as a result of defendant's substantial assistance.

(1) for the following specific reason(s):

1, He therckint "A"

¢

C Lhe Hcg lc
LINDA H. MCLAUGHLIN

UNITED STATES DISTRICT JUDGE

DATE: spar gE
Case 8:95-cr-00125-LHM Document 28 Filed 02/23/98 Page5of5 Page ID #:10

ATTACHMENT "A"

--1l. Probation not available. The Probation Officer
recommends a sentence of three (3) years probation with a
condition of six (6) months home detention. The Government
has no objection to this sentence.

However, the Sentencing Guidelines do not permit thie
imposition of this sentence for the following reasons:

(a) Bank Fraud is a Class B felony; Defendant is
guilty of bank fraud. A sentence of probation may not be
imposed if the offense of conviction is a Class B felony.
U.S.S.G. 5B1.1(b) (1).

(b) The applicable guideline range is Zone C. Where
the applicable guideline range is Zone C, the guidelines do
not authorize a sentence of probation. U.S.S.G. 5B1.1, App.
N. 2.

--2. Sentence: The Court will sentence closely to the
unopposed recommendation, but as permitted by the Sentencing
Guidelines, to wit: Three (3) years of supervised release
on conditions of one (1) day of custody, which Defendant
served on the day of arrest; and eight (8) months ina
community confinement center (the low end of the range).

Page - 1
